 

CLAIM FOR DAMAGE, INSTRUCTIONS: Please read carefully the instructions on the FORM APPROVED

reverse side and supply information requested on both sides of this | OMB NO. 1105-0008
INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for

additional instructions.

 

 

 

1. Submit to Appropriate Federal Agency: 2. Name, address of claimant, and claimant's personal representative if any.
(See instructions on reverse). Number, Street, City, State and Zip code.
INTERNAL REVENUE SERVICE ("IRS") RAHUL MANCHANDA

30 WALL STREET, 8TH FLOOR
NEW YORK, NY 10005

 

3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
[J miurary CIMLIAN 144/02/1972 DIVORCED 10/15/2018 10/15/2017

8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
the cause thereof. Use additional pages if necessary).

 

 

 

 

 

SEE ATTACHED SUMMONS & COMPLAINT LAWSUIT NYS SUPREME COURT CASE DOCKET NO 150320/2019

 

9, PROPERTY DAMAGE

 

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

 

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

 

10. PERSONAL INJURY/WRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

SEE ATTACHED SUMMONS & COMPLAINT LAWSUIT NYS SUPREME COURT CASE DOCKET NO 150320/2019

 

 

 

 

 

 

11. WITNESSES
NAME ADDRESS (Number, Street, City, State, and Zip Code)
12. (See instructions on reverse). AMOUNT OF CLAIM (in dollars)
12a, PROPERTY DAMAGE 12b, PERSONAL INJURY 12c,. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause
forteiture of your rights).
100,000,000 100,000,000

 

 

 

 

I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

 

 

 

 

 

13a. SIGNATURE OF CLAIMANT (See instructions on reverse side), 13b. PHONE NUMBER OF PERSON SIGNING FORM |14, DATE OF SIGNATURE
Jbptl foe 2129688600 01/19/2019
CIVIL PENALTY FOR PRESENTING . CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is liable to the United States Goverment fer a civil penalty of not less than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

 

 

Authorized for Local Reproduction NSN 7540-00-634-4046 STANDARD FORM 95 (REV. 2/2007)
iti , PRESCRIBED BY DEPT. OF JUSTICE

95-109 28 CFR 14.2
 

INSURANCE COVERAGE

 

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information reg

 

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ding the i hicle or property.

 

15. Do you carry accident Insurance? Cl Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. CT No

 

16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?

17. If deductible, state amount.

[_] Yes LJ No

 

 

18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).

 

19. Do you carry pubtic liability and property damage insurance? CI Yes If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code). CJ No

 

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency" whose
employee(s) was Involved in the Incident. If the incident involves more than one claimant, each claimant should submit a separate

claim form.

Complete all Items - Insert the word NONE where applicable.

ACLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Failure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when It Is received by the appropriate agency, not when It is
malied.

If instruction is needed in completing this form, the agency listed in item #1 on the reverse
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is
involved, please state each agency.

The claim may be filled by a duly authorized agent or other tegal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative
must be presented in the name of the claimant. If the claim is signed by the agent or
legal representative, it must show the title or legal capacity of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the claimant
as agent, executor, administrator, parent, guardian or other representative.

If claimant intends to fite for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.

DAMAGES IN A SUM_CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

(a) !n support of the claim for personal injury or death, the claimant should submit a
written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
hospital, or burial expenses actually incurred.

() In support of claims for damage to property, which has been or can be economically
repaired, the claimant shoutd submit at least two itemized signed statements or estimates
by reliable, disinterested concems, or, if payment has been made, the itemized signed
receipts evidencing payment.

(c) In support of claims for damage to property which is not economically repairable, or if
the property is lost or destroyed, the claimant should submit statements as to the original
cost of the property, the date of purchase, and the value of the property, both before and
after the accident, Such statements should be by disinterested competent persons,
preferably reputable dealers or officials famitiar with the type of property damaged, or by
two or more competitive bidders, and should be certified as being just and correct.

(d) Failure to specify a sum certain will render your claim invalid and may result In
forfetture of your rights.

 

PRIVACY ACT NOTICE

This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e}(3), and
concems the information requested in the letter to which this Notice is attached.
A. Authority: The requested information is solicited pursuant to one or more of the
following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.
Part 14.

 

B. Principal Purpose: The information requested is to be used in evatuating daims.

C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
submitting this form for this information.

0. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
requested information or to execute the form may render your claim “Invalid.”

 

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burd

for this collection of information is estimated to

 

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response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed

form(s) to these addresses.

 

STANDARD FORM 95 REV. (2/2007) BACK

 
eCLAIM Receipt

You have successfully filed your claim.

By successfully filing your claim, you have certified that all information provided is true and correct to
the best of your knowledge and belief. You also understand that the willful making of any false
statement of material fact herein may subject you to criminal penalties and civil liabilities.
Please allow up to 30 days to receive an email acknowledging your claim.

If you have any questions please contact 212-669-3916.

Your Receipt Number is the following:

201900051518
You uploaded:

Claim Form: 1
Supporting Documents:3
1/19/2019 12:05 PM

Claimant Last Name: MANCHANDA
Claimant First Name:RAHUL
